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SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION

UNITED STATES OF AMERICA,

 

Plaintiff,
Case No. 1:18cr1 09-2
v. ( J. Black ; M.J. Litkovitz )
SERGHEI VERLAN,
Defendant.

CRIMINAL MINUTES before
Magistrate Judge Karen L. Litkovitz

Courtroorn Deputy: Arthur Hill
Court Repolter: Ofiicial Reporter, LU f<& L.A\/r'r\
Date/Time: December 14, 2018 at 1:30 PM

United States Attorney: Médq&.” &A~Ha/\&€l/ Defendant Attorney: Ml£;m_(/( A/ {€r} raing

[ X] Im'tial Appeararrce Hearr'ng on ll Compla:`nt,' [X] Indietment; [} lnformation; or [] petition far probation / supervised release {] Ru.le
5(€) 3) out of ; [l pretrial release violation; [] Other matters

 

ounsel present
fendant informed of his / her rights
efendant provided copy of charging document
f ,‘ Jovernment moves for defendant to be detained pending detention hearing

 

 

 

[ ] Financial affidavit presented to the Court/Defendant .
cH\/¢ , 55
‘f\.’i,ounsel appointed FPD or CJA A fcc 619 (6(¢/ f n lD/&
-Hr’ ‘f’/'» if A -
Detention Hearing: N>D(efendant to be detained pending trial pursuant to pretrial detention order
Plaintiff Witness Defendant Witness
[ ] OR [ ] Secured with [ ] Electronic Monitor [ ] Other

 

 

Special Conditions of Release: [ ] Pretrial/Probation Supervision [ ] Drug testing & Treatment [ ] maintain employment & verify
[ ] refrain from alcohol [ ]narcotic drugs unless prescribed [ ]use of firearms [ ] Travel Restricted to
[ l [] []
[]

Preliminmy Exam: [ ] Probable Cause found; [ ] not found; [] waived; [ ] bond continued/denied
AUSA Witnesses: Defendant Witnesses:

 

 

 

 

 

AUSA Exhibits: Defendant Exhibits:
[ ]Preliminary Exam Hearing set
[ ] Case to proceed before the Grand Jury
[ ] Case set for Arraignment

 

 

Arraignment on{y%dr'ctment or [ Information or [] Superseding Indictment:
Defendant waives reading of: [ diet [ ] Info [ ] Indict Read [ ] lnfo Read
Defendant pleads: [ ] GUILTY OT GUILTY

[ ] Case referred to Probation Department for Presentenee Report

[] S ntencing set for

Ngse to proceed before Judge l g (M¢ g,

[ ] Statement of Agent

 

 

Removal Hearing (Rule 40):

[ ] Defendant waives Identity Hearing. [ ] Defenda.nt waives Preliminary Examination
[ ] Commitment to Another District Ordered (Rule 40), remove to
[ ] Case set for a
f ] Statement of A gent
Remarks:

 

 

 

